Case 2:21-cv-09982-JXN-CLW Document 3 Filed 05/18/21 Page 1 of 1 PageID: 44




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May 18, 2021

Via ECF
Clerk, United States District Court
Martin Luther King Building
& U.S. Courthouse
50 Walnut Street
Newark, NJ 07102

       Re:    ROTHSCHILD BROADCAST DISTRIBUTION SYSTEMS, LLC v. VIDYO,
       INC.
       Dkt. No.:   2:21-cv-09982


Dear Sir or Madam:

       In reviewing the docket for the above case, the Summons is yet to be issued. Can you
please advise if anything else is required from our office for the Summons to be issued? Thank
you for your assistance in this matter.


                                                         Respectfully Yours,



                                                         Mark A. Kriegel
